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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


RANDI FULTON,
                                                    Civil Action No. 6:13-cv-120
           Plaintiff,

vs.
                                                    COMPLAINT AND DEMAND FOR
GC SERVICES, LP; and DOES 1                         JURY TRIAL
through 10, inclusive,

           Defendants.


                                             COMPLAINT

                                       I.      INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff, Randi Fulton, an

individual consumer, against Defendant, GC Services, LP, for violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’), which prohibits debt

collectors from engaging in abusive, deceptive, and unfair practices.

                                      II.          JURISDICTION

      2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this District is

proper in that the Defendant transacts business here.

                                            III.     PARTIES

      3.    Plaintiff, Randi Fulton, is a natural person with a permanent residence in Waco,

McLennan County Texas 76710.

      4. Upon information and belief, the Defendant, GC Services, LP, is a limited partnership

engaged in the business of collecting debt in this state and in several other states, with its

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principal place of business located at 6330 Gulfton St., Suite 300, Houston, Harris County, Texas

77081. The principal purpose of Defendant is the collection of debts in this state and several

other states, and Defendant regularly attempts to collect debts alleged to be due another.

    5. Defendant is engaged in the collection of debts from consumers using the mail and

telephone. Defendant regularly attempts to collect consumer debts alleged to be due to another.

Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                               IV.    FACTUAL ALLEGATIONS

    6. The debt that Defendant is attempting to collect on is an alleged obligation of a consumer

to pay money arising out of a transaction in which the money, property, insurance or services

which are the subject of the transaction are primarily for personal, family, or household

purposes, whether or not such obligation has been reduced to judgment.

    7. Within one (1) year preceding the date of this Complaint, Defendant, in connection with

the collection of the alleged debt, contact Plaintiff and threatened to garnish Plaintiff’s wages.

Defendant called Plaintiff and demanded a 1500 dollar payment. Defendant represented that if

this payment was not received, garnishment would be instituted thereafter.

    8. Defendant has no standing to commence garnishment proceedings on behalf of the

creditor.

    9. Defendant is a debt collection company and as a debt collection company attempting to

collection an alleged debt, Defendant can only refer the matter back to the creditor with a

recommendation that the original creditor attempt legal proceedings which could result in

garnishment.

    10. The representations made to Plaintiff by Defendant regarding garnishment were false.




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    11.     Defendant also did not have the intent to garnish Plaintiff as Defendant has not

instituted any garnishment from the date of its false representation.

    12. Within one (1) year preceding the date of this Complaint and during the first thirty (30)

days of communicating with Plaintiff, Defendant, in connection with the collection of the alleged

debt, demanded payment on the alleged debt without also informing Plaintiff that Plaintiff could

dispute the validity of the alleged debt and thereby overshadowed the Plaintiff’s right to dispute

the validity of the debt.

    13.   The natural consequences of Defendant’s statements and actions were to unjustly

condemn and vilify Plaintiff for her non-payment of the debt she allegedly owed.

    14. The natural consequences of Defendant’s statements and actions were to produce an

unpleasant and/or hostile situation between Defendant and Plaintiff.

    15. The natural consequences of Defendant’s statements and actions were to cause Plaintiff

mental distress.

    16. Defendant utilized unfair and unconscionable means to collect on Plaintiff’s alleged

debt, by lying to and misleading Plaintiff.

                                V.    FIRST CLAIM FOR RELIEF

    17. Plaintiff repeats and realleges and incorporates by reference to the foregoing paragraphs.

    18. Defendants violated the FDCPA. Defendants’ violations include, but are not limited to,

the following:

                 (a) Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                    consequences of which is to harass, oppress, or abuse any person in

                    connection with the collection of an alleged debt; and




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               (b) Defendant violated §1692e of the FDCPA by using a false, deceptive, or

                   misleading representation or means in connection with the collection of the

                   alleged debt; and

               (c) Defendant violated §1692e(4) of the FDCPA by giving the false

                   representation or implication that nonpayment of the alleged debt will result in

                   the garnishment of wages of any person when such action is unlawful and the

                   Defendant does not intend to take such action; and

               (d) Defendant violated §1692e(10) of the FDCPA by using false representation or

                   deceptive means in connection with the collection the alleged debt; and

               (e) Defendant violated §1692f of the FDCPA by using unfair or unconscionable

                   means in connection with the collection of an alleged debt; and

               (f) Defendant violated §1692g(b) of the FDCPA by overshadowing or being

                   inconsistent with the disclosure of the consumer’s rights to dispute the debt or

                   request the name and address of the original creditor.


   19.   Defendant’s acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

   20. As a result of the foregoing violations of the FDCPA, Defendant is liable to the Plaintiff,

Randi Fulton, for declaratory judgment that Defendant’s conduct violated the FDCPA, actual

damages, statutory damages, and costs and attorney fees.

                             VI.    SECOND CLAIM FOR RELIEF

   21. Plaintiff repeats, realleges and incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

   22. Plaintiff repeats, realleges and incorporates by reference the foregoing paragraphs.


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      23. Defendant violated TDCPA § 392. Defendant’s violations of TDCPA § 392 include, but

are not limited to the following:

               (a) Defendant violated TDCPA § 392.304(19) by using any other false representation

                   or deceptive means to collect on the alleged debt or obtain information concerning

                   Plaintiff.

      24.     Defendants’ acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

      25. As a result of the foregoing violations of the TDCPA, Defendant is liable to the Plaintiff

for actual damages, statutory damages, attorney’s fees, interests and costs, as a result of a

violation of the TDCPA.



      WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant,

GC Services, LP, for the following:

      A. Declaratory judgment that Defendant’s conduct violated the FDCPA and TDCPA.

      B. Actual damages.

      C. Statutory damages.

      D. Costs and reasonable attorney fees.

      E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed under

            the law.

      F. For such other and further relief as the Court may deem just and proper.



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DATED: April 05, 2013                        RESPECTFULLY SUBMITTED,

                                             By: /s/ Kimberly A. Lucas
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                                DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that Plaintiff, Randi Fulton, demands trial by jury in this action

on all issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




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